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PO Box 14497 40812-4497 1500 &
Lexington, KY - =
’ HEALTH INSURANCE CLAIM FORM €
APPROVED BY NATIONAL UNIFORM CLAIM COMMITTEE 08/05
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Concentra Medical Centers PO Box 865
8267 Elmbrook Dr Ste 101 Addison, TX 75001-9005
Ranil R Ninala, MD
‘02/24/2010 | Dallas,_Tx 15247
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‘ HEALTH INSURANCE CLAIM FORM <
APPROVED BY NATIONAL UNIFORM CLAIM COMMITTEE 08/05
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Concentra Medical Centers PO Box 865
8267 Elmbrock Dr Ste 101 . Addison, TX 75001-9005
Ranil R Ninala, MD
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Lexington, KY - fe
‘ HEALTH INSURANCE CLAIM FORM <
APPROVED BY NATIONAL UNIFORM CLAIM COMMITTEE 08/05
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Concentra Medical Centers PO Box 865
8267 Elmbrook Dr Ste 101 Addison, TX 75001-9005
Ranil R Ninala, MD
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INCLUDING DEGREES OR CREDRNTALS RENDERED (if other than home or office) & PHONE #. (300) 733- -~7098
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; Concentra Medical Centers PO Box 865
8267 Elmbrook Dr Ste 101 Addison, TX 75001~9005
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Concentra Medical Centers PO Box 865
8267 Elmbrook Dr Ste 101 Addison, TX 75001-9005
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NUCC Instruction Manual available at: www.nucc.org " APPROVED OMB 0538-0999 FORM CMS-1500 (0505)

 

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

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APPROVED BY NATIONAL UNIFORM CLAIM COMMITTEE 08/05
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APPROVED BY NATIONAL UNIFORM CLAIM COMMITTEE 09/05
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Concentra Medical Centers of the Southwest, P.A.
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Robert J Stuart, MD Addison, TX 75001-9005
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APPROVED BY NATIONAL UNIFORM CLAIM COMMITTEE 08/05.
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Evans, Melvin

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9. PATIENTS BIRTH DATE
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Home Depot #8976

 

5. PATIENT'S ADDRESS (No Sveet)
408 Lakewood Dr

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Brent M Davis, PT
02/24/2010 |;

NUCC Instruction Manuai available at: www.

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CMC - DFW Redbird
Concentra Medical Centers
5520 Westmoreland Ste 200

TX 7523

 

Occupational Health Centers
of the Southwest, P.A.

PO Box 9005

Addison, TX 75001-9005

 

 

 

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PATIENT AND INSURED INFORMATION ———————?+*— CARRIER >

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APPROVED BY NATIONAL UNIFORM CLAIM COMMITTEE 08/05
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Concentra Medical Centers of e Southwest, P.A.
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PO Box 14497
Lexington, KY 40512-4497

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HEALTH INSURANCE CLAIM FORM

APPROVED BY NATIONAL UNIFORM CLAIM COMMITTEE 08/05

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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5. PATIENT'S ADDRESS (No Street) 6. PATIENTS RELATIONSHIP TO INSURED 7. INSURED'S ADDRESS (No Stree}

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READ BACK OF FORM BEFORE COMPLETING & SIGNING THIS FORM

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Robert J Stuart, MD

 

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INCLUDING DEGREES OR CREDANTALS RENDERED ({f other than hame or office) & PHONE #. (800) 733- -7098
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Concentra Medical Centers of the Southwest, P.A.
5520 Westmoreland Ste 200 PO Box 9005

Addison, TX 75001-9005

 

 

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PATIENT AND INSURED INFORMATION ———————>+— CARRIER ——>

 

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HEALTH INSURANCE CLAIM FORM >

APPROVED BY NATIONAL UNIFORM CLAM COMMITTEE 08/05,

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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of the Southwest, P.A.
PO Box 9005

Addison, TX 75001-9005

CMC - DFW Redbird
Concentra Medical Centers
5520 Westmoreland Ste 200

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Concentra Medical Centers ef the Southwest, P.A.
5520 Westmoreland Ste 200 PO Box 9005
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INCLUDING DEGREES OR CREDANTALS RENDERED {If other than home or office) & PHONE # (B00) 733-7098
Coe ee ret) ee Tee ie CMC - DFW Redbird Occupational Health Convers
Concentra Medical Centers of the Southwest, P.A.
5520 Westmoreland Ste 200 PO Box 9005
Brent M Davis, PT wx 15937 Addison, TX 75001-9005
02/24/2010 |; Dallas, b.: 3 b
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NUCC Instruction Manual available at: www.nucc.org APPROVED OMB-0938-0989 FORM CMS-1500 (08/05)

 

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

 

  
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Lexington, KY - ,
HEALTH INSURANCE CLAIM FORM <
APPROVED BY NATIONAL UNIFORM CLAIM COMMITTEE 08/05
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INCLUDING DEGREES OR CREDANTALS RENDERED (If other than horne of office) & PHONE #. (800) 733- 7098
Coe oe ce rattersct} wey mine CMC - DFW Redbird Occupational Health Centers
Concentra Medical Centers of the Southwest, P.A.
5520 Westmoreland Ste 200 PO Box 9005 75001-9005
Brent M Davis, PT Addison, ~
" 02/24/2010 |,Dallas, Tx 75937 —__.. 5 -
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PO Box 14497 40512-4497 1500 fi
Lexington, KY - fe
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. APPROVED BY NATIONAL UNIFORM CLAIM COMMITTEE 08/05
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INCLUDING DEGREES OR CREDANTALS RENDERED (if other than horne of office) & PHONE #, (800) 733- -7098
(ar ore cds a pant oreo) eee PP 1 fe CMC - DFW Redbird . Occupational Health centers
Concentra Medical Centers of the Southwest, P.A.
5520 Westmoreland Ste 200 PO Box 9005 75001-9005
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Brent M Davis, 02/24/2010 _TX_75237 '
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PO Box 14497

Lexington, KY 40512-4497

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HEALTH INSURANCE CLAIM FORM

APPROVED BY NATIONAL UNIFORM CLAIM COMMITTEE 08/05 .

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Evans, Melvin

2. PATIENT'S NAME (Last Name, First Name, Middle initial)

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Home Depot #8976

 

5. PATIENTS ADDRESS (No Stee

408 Lakewood Dr

6. PATIENT S RELATIONSHIP TO INSURED

caf] vom Joo] om]

7. INSURED S ADDRESS (No Street)

500 N Interstate 35 E

 

 

 

 

 

 

 

 

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b. EMPLOYER'S NAME OR SCHOOL NAME

 

 

 

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SIGNATURE ON FILE

SIGNED

 

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INJURY (ACCIDENT) OR
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Brent M Davis,

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31. SIGNATURE OF PHYSICIAN OR SUPPLIER.
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02/24/2010

RENDERED (If other than home or office)

CMC - DFW Redbird
Concentra Medical
5520 Westmoreland

TX 75237

32. NAME AND ADDRESS OF FACILITY WHERE SERVICES WERE

Centers
Ste 200

39. PHYSICIANS, SUPPLIER'S BILLING NAME, ADDRESS, 21

& PHONE #. (800) 733- -7098
Occupational Health eters

of the Southwest, P.A.

PO Box 9005

Addison, TX 75001-9005

PATIENT AND INSURED INFORMATION ——~——>}— CARRIER —>

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| Dallas,
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APPROVED OMB-0936-0999 FORM CMS-1500 (08/05)

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Concentra Medical Centers of the Southwest, P.A.
5520 Westmoreland Ste 200 PO Box 9005
Brent M Davis, pr Addison, TX 75001-9005
02/24/2010 | Dallas,_Tx 15237
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NUCC Instruction Manual available at: www.nucc.org APPROVED OMB-0938-0989 FORM CMS-1 500 50 (08/05)

 

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Case 3:10-cv-0205 9) Document 1-1 Filed 10/13/10 @« 22 of 81 PagelD 102 T
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Lexington, KY -
HEALTH INSURANCE CLAIM FORM <
APPROVED BY NATIONAL UNIFORM CLAIM COMMITTEE 08/05
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Janet DuPertuis a [| | | i
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ING DEGREES OR CREDRNTALS RENDERED (if other than home or office) / & PHONE #. (800) 733-7098 }
(gry Pato tres on aor apy ie CMC - DEW Redbird Occupational Health Centers
Concentra Medical Centers of the Southwest, P.A. :
5520 Westmoreland Ste 200 PO Box 9005 75001-9005
Brent M Davis, PT Addison, ~ ‘
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PO Box 14497 eo 1500 ui
Lexington, KY -4497 &
‘ HEALTH INSURANCE CLAIM FORM S
‘ APPROVED BY NATIONAL UNIFORM CLAIM COMMITTEE 08/05
1. MEDICARE MEDICAID we CHAMPVA, SO PLAN FECA UNG OTHER! 1A INSURED'S 1.0. NUMBER (FOR PROGRAM IN ITEM 1)
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2. PATIENT S NAME (Lest Neme, First Name, Middle Initial) 9. PATIENTS BIRTH DATE SEX 4. INSURED'S NAME (Last Name, Firet Narne, Mddie inital}
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Evans, Melvin 05 17 1950 »{xX|_ =[ || Home Depot #8976
5. PATIENTS ADORESS (No Street} 6. PATIENT S RELATIONSHIP TO INSURED 7. INSURED'S ADDRESS (No Street) :
408 Lakewood Dr sat{ | Spouse [oni] | omer [| 500 N Interstate 35 E z |
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DESOTO TX Single [J Maries | Other [| Lancaster TX $
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Concentra Medical Centers of the Southwest, P.A. i
5520 Westmoreland Ste 200 PO Box 9005 i
Brent M Davis, pr my 7593 Addison, TX 75001-9005 :
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\ Liberty Mutual Home Depot ONLY { Pa
. PO Box 7072 | rap 3 1500 5
London, KY -7072 : =
HEALTH INSURANCE CLAIM FORM s
APPROVED BY NATIONAL UNIFORM CLAIM COMMITTEE 08/05
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1, MEDICARE MEDICAID TRICARE CHAMPVA, ant PLAN 1A. INSURED'S 1.0. NUMBER (FOR PROGRAM IN ITEM 4)
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2. PATIENT'S NAME (Last Name, First Name, Middle initial) 9. PATIENT'S BIRTH DATE 4. INSURED'S NAME (Last Name, First Name, Middle Inia
. MM YY : :
Evans, Melvin 05 17 1950 WE] AT Home Depot #8976
5. PATIENT'S ADDRESS (No Steet) 6. PATIENT'S RELATIONSHIP TO INSURED 7. INSURED'S ADDRESS (No Steet)
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31. SIGNATURE OF PHYSICIAN OR SUPPLIER 92. NAME AND ADDRESS OF FACILITY WHERE SERVICES WERE . 33. FLYSICIANS, SUPPLIERS BILLING NAME, ADDRESS, 211 .
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Concentra Medical Centers of the Southwest, P.A. i
5520 Westmoreland Ste 200 PO Box 9005 :
Robert J Stuart, MD Addison, TX 75001-9005 i
02/24/2010 | -Dallas,_TX 75237 _ :
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London, KY 40742- &
HEALTH INSURANCE CLAIM FORM <
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INCLUDING DEGREES OR CREDANTALS RENDERED (If other than home er office) A PHONE #. ae 733-7098
(eect tat ne a perecty ee Pe mie CMC - DFW Redbird Occupational Health Centers
Concentra Medical Centers of the Southwest, P.A.
5520 Westmoreland Ste 200 PO Box 9005
02/24/2010 ;-Dallas,_Tx 75¢37
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London, KY fe
‘ HEALTH INSURANCE CLAIM FORM s
APPROVED BY NATIONAL UNIFORM CLAIM COMMITTEE 08/05
1. MEDICARE MEDICAID TRICARE CHAMPVA COOL PLAN FECA na OTHER! 1A INSURED'S |.D. NUMBER {FOR PROGRAM IN ITEM t)
(Medicare &) [Joedtcaia [| (Sponsor's SSN) [| (Member 1D#) 1 (SSN or 1D) [ |= 71° XXX-XX-XXXX ,
2. PATIENT'S NAME (Last Name, First Name, Middle initial) 5 PATIENT'S BIRTH DATE 4. INSURED'S NAME (Last Name, Firet Name, Middie Initial)
Evans, Melvin 05 17 1950 wz). | || Home Depot #8976
5. PATIENT'S ADORESS (No Streat) 6. PATIENT'S RELATIONSHIP TO INSURED 7. INSURED'S ADDRESS (No Streat)
408 Lakewood Dr sot | Spoune{ | cid oner| | 500 N Interstate 35 E z
cry STATE 8. PATIENT STATUS Cy STATE 2
DESOTO Tx singlo[ | mamos[ ] omer [| Lancaster TX <
ZIP CODE TELEPHONE (Include Aten Code) ZP CODE TELEPHONE (INCLUDE AREA CODE) &
75115 972 230-4230 Employed] Sudent | | Sausent” 751461874 912 223-4929 ue
9. OTHER INSURED'S NAME (Last Name, First Namw, Maddie Initial) 40. PATIENT S CONDITION RELATED TO. 11. INSUREDS POLICY GROUP OR FECA NUMBER a
N/A WC 14C-007670 we
8. OTHER INSURED S POLICY OR GROUP NUMBER + a, EMPLOYMENT? (CURRENT OR PREVIOUS) a. INSURED'S DATE OF BIRTH sex 3
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b. OTHER INSURED'S DATE OF BIRTH SEX b. AUTO ACCIDENT? PLACE State b. EMPLOVERTS NAME OR SCHOOL NAME 2
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¢. EMPLOYER S NAME OR SCHOOL NAME ¢. OTHER ACCIDENT? ¢. INSURANCE PLAN NAME OR PROGRAM NAME ui
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9, INSURANCE PLAN NAME OR PROGRAM NAME 10d. RESERVED FOR LOGAL USE ¢. IS THERE ANOTHER HEALTH BENEFIT PLAN?
N/A WC 14C-007670 [ }es [| YES, rom t and conylete itor De
READ BACK OF FORM BEFORE COMPLETING & SIGNING THIS FORM 18. INSURED'S OR AUTHORIZED PERSON'S SIGNATURE | authorize payment of medical
12. PATIENT'S OR AUTHORIZED PERSON'S SIGNATURE. | authoriza the release of any medical or other information necessary to process this claim. benefits to the undersigned physician or supplier for services described below. :
| also requeat payment of government benefits either to myself or to the party who accepts assignment below... :
sap SIGNATURE ON FILE we N/A sienen SIGNATURE ON FILE
4 i
14 a te ILLNESS (FIRST SYMPTOM) OR 15. IF PATIENT HAS HAD SAME OR SIMLAR ILLNESS, 16. DATES PATIENT UNABLE TO WORK IN CURRENT OCCUPATION x I
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17. NAME OF REFERRING PHYSICIAN OR OTHER SOURCE a = . 18. roar TN led PeLaveD TO CURRENT SEmMCES oo wv :
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19, RESERVED FOR LOCAL USE : 20. OUTSIDE LAB? § CHARGES. :
LAURA MAZIOL [ |v [ |no | |
21. DIAGNOSIS OR NATURE OF ILLNESS OR INJURY. (RELATE ITEMS 1,2,3 OR 4 TO ITEM 24E BY LINE) 22. MEDICAID RESUBMISSION ORIGINAL REF. NO. :
[724.4 . _ af 842.02 | n/a | N/A
. , , . 23. PRIOR AUTHORIZATION NUMBER ;
2| 847.2 «| 847.1 N/A z ;
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31. SIGNATURE OF PHYSICIAN OR SUPPLIER 92. NAME AND ADDRESS OF FACILITY WHERE SERVICES WERE x. Pavas. SUPPLIERS BILLING NAME, ADDRESS, 2 Q
INCLUDING DEGREES OR CREDRNTALS RENDERED (ff ather than home or office) & PHONE (B00) 733- -7098 :
(i ard omnis panteroot) ee ety Bis CMC - DFW Redbird Oceur tional Health Centers .
Concentra Medical Centers of the Southwest, P.A. :
5520 Westmoreland Ste 200 PO Box 9005 Os :
Robert J Stuart, MD Addison, TX 75001-9390 ;
02/24/2010 | Dallas, TX 75237
SIGNED mre |*1588696033 —_|® - ‘

 

 
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DALLAS, TEXAS 75219 ied ( \. An
TELEPHONE 214-720-0720 te EVEN S..SCHULTE

 

TOLL FREE 800-900-5373 4

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a ait MARY ALICE hore ttt

K Counsel

 

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OR raat

we ational Board of Trial Advocacy

March 3 0, 2010 : . t College of the State Bar of Texas

tt Licensed in Texas and New Mexico

ttt Licensed in Texas and District of Columbia

    
 

Clerk

County Court at Law No. 1

George L. Allen, Sr. Courts Building
600 Commerce Street, 5th Floor
Dallas, Texas 75202-4606

Re: | Cause No. CC-10-01305-A; Melvin Evans v. Home Depot, USA, Inc.

Dear Clerk:

Enclosed for filing among the papers of this Court are an original and one copy of
Plaintiffs Notice of Filing Affidavits for Business and/or Medical Records with regard to the
referenced lawsuit. Please return a file-marked copy of this pleading to us in the enclosed self-
addressed, stamped envelope.

By copy of this letter, all counsel are being served with a copy of this pleading.
Thank you for your usual courtesy and cooperation in these matters.

Sincerely yours,

OQn~w~_e |? C—_
Northa Pecina,
Legal Assistant to Steven S. Schulte

:np
Enclosures

ce w/encl:

VIA FAX 512/370-2850

Peyton N. Smith

Winstead PC
401 Congress Ave., Suite 2100

Austin, TX 78701

 

 

 
Case 3:10-cv-0205¢@p Document 1-1 Filed 10/13/10 Ger 28 of 81 PagelD 108

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TELEPHONE 214-720-0720 pean % “STEVEN S. SCHULTE
TOLL FREE 800-900-5373 Q . 4 wea
’ TELECOPIER 214-720-0184 Pit Sad iSt
ersonalini xtrial, APR \ 5 Of Counsel
www.textrial.com ny

 

RTY ttt
or Counsel

 
     

“Boa Corti ed in Per: ijoryfTrial Law
. **Board Certifi ivif Trial Law
April 16, 2010 Canttied Civil Tal Advocate:

” National Board of Trial Advocacy
t College of the State Bar of Texas
Clerk tt Licensed in Texas and New Mexico
, ttt Licensed in Texas and District of Columbia

County Court at Law No. 1
. George L. Allen, Sr. Courts Building
600 Commerce Street, 5th Floor

Dallas, Texas 75202-4606 SCANNED
Re: Cause No. CC-10-01305-A; Melvin Evans v. Home Depot, USA, Inc.
Dear Clerk:
Enclosed for filing among the papers of this Court are an original and one copy of an Agreed
Level 3 Scheduling Order. Please present this Order to the Judge for signing, and once signed,
please provide our office with a conformed copy to the underlying attorney in the envelope enclosed.

Thank you for your usual courtesy and cooperation in these matters.

‘ Sincerely yours,

Norma Pecina,
Legal Assistant to Steven S. Schulte

np
Enclosures

cc W/encl:

VIA FAX 512/370-2850

Peyton N. Smith

Winstead PC

401 Congress Ave., Suite 2100
Austin, TX 78701

 

 
Case 3:10-cv-02059@ Document 1-1 Filed 10/13/10 @x: 30 of 81 PagelD 110

 
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DALLAS, TEXAS 75219 ri j _ Ld HEATHER LONG tt

TELEPHONE 214-720-0720 STEVEN S. SCHULTE

TOLL FREE 800-900-5373

TELECOPIER 214-720-0184 “ALE ELLISt “4
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, , MARY ALICE McLARTY ttt

Of Counsel

- Cit “Board Certified in Personal injury Tal Law
“Board Certified in Civil Trial Law

Cul RA
g ci 6 ii N Y 4 Certified Civil Trial Advocate:

April ] 6, 201 BA Lt x National Board of Trial Advocacy

t College of the State Bar of Texas

: tt Licensed in Texas and New Mexico

Clerk : ttt Licensed in Texas and District of Columbia

County Court at Law No. 1
‘George L. Allen, Sr. Courts Building

600 Commerce Street, 5th Floor

Dallas, Texas 75202-4606

 

 

Re: Cause No. CC-10-01305-A; Melvin Evans v. Home Depot, USA, Inc. _
Dear Clerk:.

Enclosed for filing among the papers of this Court are an original and one copy of a Rule
11 Agreement between counsel regarding discovery in the referenced matter. Please file this
document and return a file-marked copy to us via our runner.

By copy of this letter, all counsel are being served with a copy of this pleading.

Thank you for your usual courtesy and cooperation in these matters.

Sincerely yours,

Vow Keer

Norma Pecina,
Legal Assistant to Steven S. Schulte

np
Enclosures

cc w/encl:

VIA FAX 512/370-2850

Peyton N. Smith

Winstead PC

401 Congress Ave., Suite 2100
Austin, TX 78701

 

 

 
 

Case 3:10-cv-02059 @® Document 1-1 Filed 10/13/10 oe: 32 of 81 PagelD 112
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DALLAS, TEXAS 75219 HEATHER LONG tt
TELEPHONE 214-720-0720 STEVEN S. SCHULTE
TOLL FREE 800-900-5373

TELECOPIER 214-720-0184

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*AL ELLISt**4

 

 

rsonaliniury @textrialcom Of Counsel
www.textrial.com

MARY ALICE McLARTY ttt

Of Counsel

*Board Certified in Personal Injury Trial Law
**Board Certified in Civil Trial Law

4 Certified Civil Trial Advocate:
National Board of Trial Advocacy
t College of the Stale Bar of Texas

* tt Licensed in Texas and New Mexico
April 3 0, 20 10 ttt Licensed in Texas and District of Columbia

 

  
 

O. 7008 1140 0002 8349 6830
Peyton N Smith

Winstead PC

401 Longress Ave., Suite 2100

stin, TX 78701

Re: Cause No. CC-10-01305-A; Melvin Evans v. Home Depot, U.S.A., Inc.

Dear Mr. Smith:

 

Enclosed you will find the following: . | SCANNE
1. Plaintiffs Responses to Defendant's Request for Disclosure;

2. Plaintiff's Objections and Answers to Defendant's Interrogatories; and

3. Plaintiff's Objections and Responses to Defendant's Request for Production.

In accordance with the Texas Rules of Civil Procedure, the original documents will be kept
in our possession. By copy of this letter, the court clerk is being notified of service of these
documents.

If you should have any questions, please do not hesitate to contact our office.

Sincerel

   

 

 

. Steven S. Schulte
SSS:nlp

cc w/o encl:
erk
County Court at Law No. 1
Y George L. Allen, Sr. Courts Building
600 Commerce Street, 5th Floor _
Dallas, Texas 75202-4606

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DALLAS, TEXAS 75219 eee TTY : HEATHER LONG ¢t
TELEPHONE 214-720-0720 emda ow STEVEN S. SCHULTE

TOLL FREE 800-900-5373

TELECOPIER 214-720-0184 *AL ELLIS}**4

personalinjury @textrial com . : x Of Counsel
www.textrial.com 4h 5

aihria MARY ALICE McLARTY ttt

, Of Counsel

May 4, 2010 *Board Certified in Personal injury Trial Law

Clerk Board Certified in Civil Trial Law

4 Certified Civil Trial Advocate:

County Court at Law No. 1 National Board of Trial Advocacy

‘14: ‘ College of the State Bar of Texas

George L. Allen, Sr. Courts Building tt licenses in Texas and New Mexico

600 Commerce Street, Sth Floor ttt Licensed in Texas and District of Columbia

Dallas, Texas 75202-4606

Re: | Cause No. CC-10-01305-A; Melvin Evans v. Home Depot, USA, Inc. S C ANA
ANMED)

Dear Clerk:

This letter is to notify you that I will be on vacation from Monday, June 14 through
Wednesday, June 30, 2010.

I respectfully request that the Court set no hearings or trials for these dates. By copy of this
letter, I have further requested that no depositions or other matters s be scheduled by counsel i in the
above referenced matter during this period.

Thank you for your assistance and cooperation in this regard.
With kind regards,
/s/ Andrew B. Sommerman

Andrew B. Sommerman
ABS:dr

N:\Active\4500\45' 97\Correspondence\vacation ltr 050410. wpd

cc:
VIA FAX 512/370-2850

Peyton N. Smith

Winstead PC

401 Congress Ave., Suite 2100
Austin, TX 78701

 

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County Court at Law No. 1
George Allen Courts Bldg
600 Commerce St. 5" Floor
Dallas, TX 75202
(214) 653-6581

May 07, 2010

KEN RUBENSTEIN
4514 COLE AVE STE 1450
DALLAS TX 75205

Cause No.CC-10-01305-A MELVIN EVANS vs. HOME DEPOT, U.S.A, INC
In the County Court at Law No. 1 of Dallas County, Texas

All Counsel of Record:

 

TREK DOYLE

WINSTEAD SECHREST & MINICK PC
401 CONGRES AVE, STE 2100
AUSTIN TX 78701

STEVEN S SCHULTE

3811 TURTLE CREEK BLVD
SUITE 1400

DALLAS TX 75219-4461

The parties are instructed to cross-serve this notice on all adverse parties in compliance with Texas Rule of Civil
Procedure 21a. -

(1) JURY TRIAL: February 08, 2011 @ 9:00 AM
Sincerely,
County Court at Law No.1 Judge D’Metria Benson
Policies and Procedures County Court at Law No. 1
Can be reviewed at Dallas County, Texas

www.judgedmetriabenson.com

 

 

*IF A JURY DEMAND IS REQUESTED, IT MUST BE MADE IN WRITING AND SUBMITED WITH $57.00 FOR THE JURY AND
BAILIFF FEES TO: MR. JOHN WARREN, DALLAS COUNTY CLERK, 600 COMMERCE, #101, DALLAS, TEXAS 75202**

 

 
 
 

Case 3:10-cv-02059 @® Documen PagelD 118
County Court at Law No. 1
George Allen Courts Bldg
600 Commerce St. 5" Floor
Dallas, TX 75202
(214) 653-6581
May 07, 2010
TREK DOYLE
WINSTEAD SECHREST & MINICK P C
401 CONGRES AVE, STE 2100 :
AUSTIN TX 78701 sc ANNED

Cause No.CC-10-01305-A MELVIN EVANS vs. HOME DEPOT, U.S.A, INC
In the County Court at Law No. 1 of Dallas County, Texas

All Counsel of Record:

The parties are instructed to cross-serve this notice on all adverse parties in compliance with Texas Rule of Civil
Procedure 21a.

(1) JURY TRIAL: February 08, 2011 @ 9:00 AM

Trial announcements in ALL cases must be made in accordance with Local Rule 3.02(a). When no announcement is
made for Plaintiff, the case may be dismissed for want of prosecution. When no announcement is made for Defendant,
Defendant will be presumed ready.

An agreed or unopposed motion for continuance, even for a first trial setting, will NOT automatically be granted.
Counsel (or pro se parties) are responsible for contacting court personnel to determine if a continuance has been granted

or denied. FAILURE TO APPEAR FOR TRIAL MAY RESULT IN CASE DISMISSAL OR DEFAULT JUDGMENT, AND EVEN AN
AGREED OR UNOPPESED MOTION TO REINSTATE WILL NOT AUTOMATICALLY BE GRANTED.

Completion of discovery, presentation of pretrial motions and other matters relating to preparation for trial are governed
by the Local Rules of Civil Courts of Dallas County available from the County Clerks office and at
www.dallascourts.com/resources.htm.

Sincerely,
County Court at Law No.1 Judge D’Metria Benson
Policies and Procedures County Court at Law No. 1
Can be reviewed at Dallas County, Texas

www.iudgedmetriabenson.com

 

*IF A JURY DEMAND IS REQUESTED, IT MUST BE MADE IN WRITING AND SUBMITED WITH $57.00 FOR THE JURY AND
BAILIFF FEES TO: MR. JOHN WARREN, DALLAS COUNTY CLERK, 600 COMMERCE, #101, DALLAS, TEXAS 75202**

 

 
Case 3:10-cv-02059-® Documen

 

County Court at Law No. 1
George Allen Courts Bldg
600 Commerce St. 5" Floor
Dallas, TX 75202 SCANNED

(214) 653-6581

May 07, 2010
STEVEN S SCHULTE
3811 TURTLE CREEK BLVD
SUITE 1400
DALLAS TX 75219-4461

Cause No.CC-10-01305-A MELVIN EVANS vs. HOME DEPOT, U.S.A, INC
In the County Court at Law No. 1 of Dallas County, Texas

All Counsel of Record:

The parties are instructed to cross-serve this notice on all adverse parties in compliance with Texas Rule of Civil
Procedure 21a.

(1) JURY TRIAL: February 08, 2011 @ 9:00 AM

Trial announcements in ALL cases must be made in accordance with Local Rule 3.02(a). When no announcement is
made for Plaintiff, the case may be dismissed for want of prosecution. When no announcement is made for Defendant,
Defendant will be presumed ready.

An agreed or unopposed motion for continuance, even for a first trial setting, will NOT automatically be granted.
Counsel (or pro se parties) are responsible for contacting court personnel to determine if a continuance has been granted

or denied. FAILURE TO APPEAR FOR TRIAL MAY RESULT IN CASE DISMISSAL OR DEFAULT JUDGMENT, AND EVEN AN
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by the Local Rules of Civil Courts of Dallas County available from the County Clerks office and at
www.dallascourts.com/resources.htm.

Sincerely,
County Court at Law No.1 Judge D’Metria Benson
Policies and Procedures County Court at Law No. 1
Can be reviewed at Dallas County, Texas

www.judgedmetriabenson.com

*IF A JURY DEMAND IS REQUESTED, IT MUST BE MADE IN WRITING AND SUBMITED WITH $57.00 FOR THE JURY AND
BAILIFF FEES TO: MR. JOHN WARREN, DALLAS COUNTY CLERK, 600 COMMERCE, #101, DALLAS, TEXAS 75202**

 

 
Case 3:10-cv-02059@& Document 1-1

 
Som sas TAR re CIR MA Boe’ .
3811 TURTLE CREEK BOULEVARD, SUITE 1400

DALLAS, TEXAS 75219

TELEPHONE 214-720-0720

TOLL FREE 800-900-5373

TELECOPIER 214-720-0184

personalinjury @textrial.com

www.textrial.com

May 14, 2010

vis Fax: 512/370-2850

Peyton N. Smith

Winstead PC

401 Congress Ave., Suite 2100
Austin, TX 78701

Re:

Dear Mr. Smith:

Attached you will find the following:

1.

2.

3.

Filed 10/13/10 adr of 81 PagelD 121

*ANDREW B. SOMMERMAN +

Le

# ee GEORGE (TEX) QUESADA +t

fs qe HEATHER LONG +t
“3 & _ STEVEN S. SCHULTE

? {) “AL ELLISt***

Of Counsel

 

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. 7 MARY ALICE McLARTY ttt
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“G “ ep on . ys “Board Certifi ied in Personal injury Trial Law
cpa ‘ C ** Board Certified in Civil Trial Law

4 Certified Civil Trial Advocate:
National Board of Trial Advocacy
t+ College of the State Bar of Texas
+} Licensed in Texas and New Mexico
ttt Licensed in Texas and District of Columbia

&

 

Cause No. CC-10-01305-A; Melvin Evans v. Home Depot, U.S.A., Inc.

 

Jury Trial Notice reflecting jury trial on February 8, 2011;
Mediation Order appointing Ken Rubenstein as mediator; and

Conformed Agreed Level 3 Scheduling Order.

If you should have any questions, please do not hesitate to contact our office.

ABS:nlp
Attachments

cc w/o encl:

Clerk

County Court at Law No. I
George L. Allen, Sr. Courts Building
600 Commerce Street, 5th Floor
Dallas, Texas 75202-4606

 

Sincerely,

Andrew B. Sommerman

 

 
Case 3:10-cv-02059 @® Document 1-1 a 10/13/10 ge 42 of 81 PagelD 122

 

 

 
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JOHN F. WARREN

Dallas County Clerk

George Allen Sr. Court Bldg.
600 Commerce St, Ste 101
Dallas, Texas 75202-3551

 

STATE OF TEXAS §

COUNTY OF DALLAS §

I, John F. Warren, Clerk of the County Court of Dallas County Court at Law No. 1,
Dallas County, Texas do hereby certify that the foregoing is a true and correct copy of
document in Cause No. CC-10-01305-A.

MELVIN EVANS, PLAINTIFF (S)
VS
HOME DEPOT, U.S.A, INC, DEFENDANT (S)

PLAINTIFF’S DESIGNATION OF LEAD COUNSEL, FILED: MAAY 21, 2010
Minutes of County Court at Law No. 1, Dallas County, Texas.

WITNESS MY HAND AND SEAL of said Court this 5th day of October, 2010.

John F. Warren, County Clerk

Yg..
By: hh Bete

ALVIN BECK, Deputy

 

 
Gase 3:10-cv-02059-@ Document 1-1 Filed 10/13/10 Qe 44 of 81 PagelD 124

 

AUSE NO. CC-10-01305-A fais RS
CAUS CC-10 - iL ee D
MELVIN EVANS, § IN THE COUNTY COURT
§ ABlOMAY 21 PH 3:35
Plaintiff, §
§ ONIN &
VS. § AT LAW NO.1 COUNTY K
§ DALL AS COUNTY
HOME DEPOT, U.S.A., INC. §
§
Defendant. § DALLAS COUNTY, TEXAS

PLAINTIFF'S DESIGNATION OF LEAD COUNSEL SCANNED
~ TO THE HONORABLE JUDGE OF SAID COURT:

COMES NOW, Melvin Evans, Plaintiff in this action, and hereby designates Andrew B.
Sommerman as lead counsel on his behalf to have full control and management of this cause and to
receive all communications from the Court or other counsel relating to the case at the following
address and telephone number:

Andrew B. Sommerman

Sommerman & Quesada, L.L.P. oA mee
3811 Turtle Creek Boulevard, Suite 1400 :
Dallas, Texas 75219-4461 . Br at

Telephone (214) 720-0720
Fax (214) 720-0184
E-mail: andrew@textrial.com

Respectfully submitted,

SOMME N & QUESADA, L.L.P.

Anata B. Sommerman >
State Bar No. 18842150
3811 Turtle Creek Boulevard, Suite 1400
Dallas, Texas 75219-4461
Telephone: (214) 720-0720
Facsimile: (214) 720-0184

_ E-mail: ___ andrew@textrial.com. 5... .,,..

ATTORNEYS FOR PLAINTIFF

TRUE AND CORRECT
COPY OF ORIGINAL Page |
FILED IN DALLAS

   
 

PLAINTIFF'S DESIGNATION OF LEAD COUNSEL
N:\Active\4500\4597\Pleadings\PIf's Design Lead Counsel 05.18.10.frm

COUNTY CLERK'S OFFICE

 

 
Case 3:10-cv-02059-@ Document 1-1. Filed 10/13/10 @: 45 of 81 PagelD 125

CERTIFICATE OF SERVICE
I hereby certify by my signature above that a true and correct copy of the foregoing
instrument has this date been sent to all attorneys of record in the above-styled and numbered cause,
said service being effected in the following manner on the I) ‘day of May, 2010.
Certified Mail/Return Receipt Requested
Hand Delivery

Telecopy aa

Regular Mail

 

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TRUE AND CORRECT

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COUNTY CLERK'S

PLAINTIFF'S DESIGNATION OF LEAD COUNSEL
N:\Active\4500\4597\Pleadings\Pif's Design Lead Counsel 05.18.10.frm

 

 

 
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DALLAS, TEXAS 75219 ci iL e HEATHER LONG {t
TELEPHONE 214-720-0720 STEVEN S. SCHULTE
TOLL FREE 800-900-5373

 
  

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2e\8 HAY MARY ALICE McLARTY ttt
ve Of Counsel
mie Wy : REN
yo , joard Certified in Personal Injury Trial Law
May 18, 2010 & i . Ty ERR **Board Certified in Civil Tal Law
L A $ C “6 nat 4 Certified Civil Trial Advocate:
0 AL National Board of Trial Advocacy
t College of the State Bar of Texas
. * tt Licensed in Texas and New Mexico
Via Hand Delive ttt Licensed in Texas and District of Columbia

Clerk

County Court at Law No. 1

George L. Allen, Sr. Courts Building
600 Commerce Street, 5th Floor
Dallas, Texas 75202-4606

Re: Cause No. CC-10-01305-A; Melvin Evans v. Home Depot, USA, Inc.
Dear Clerk:

Enclosed for filing among the papers of this Court are an original and one copy of Plaintiff's
Designation of Lead Counsel. Please file this document and return a file-marked copy of same to
us via the awaiting courier.

By copy of this letter, all counsel are being served with a copy of this pleading.

Thank you for your assistance in this matter.

Sincerely,
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. i fhe
ebbie Rima, Legal Assistant to
Andrew B. Sommerman

DR/nlp

N:\ctive\4500\4597\Correspondence\Clerk 051810 filing Plf's Design Lead Counsel.wpd

cc:

Vis FAX 512/370-2850

Peyton N. Smith

Winstead PC

401 Congress Ave., Suite 2100
Austin, TX 78701

 

 
   
 
  

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: ANNED
CAUSE NO. CC-10-01305-A a 2009 ay “ILE Dp
MELVIN EVANS, § INTHE COUNTY COURT * PY 2.,,
Plaintiff, ; ofan Wa Anrney ‘
vs. : AT LAW NO.1 “AS count: |
HOME DEPOT, U.S.A., INC. : |
Defendant, ; DALLAS COUNTY, TEXAS

PLAINTIFF'S MOTION TO QUASH, FOR PROTECTION FROM DISCOVERY,
AND OBJECTIONS TO DEPOSITIONS BY WRITTEN QUESTIONS

TO THE HONORABLE JUDGE OF SAID COURT: { ‘
NOW COMES Plaintiff Melvin Evans, Movant herein, and bring this Motion to Quash,
for Protection from Discovery, and Objections against Defendant. Plaintiff asks the Court to
quash the deposition on written questions notice of Solace Counseling Associates and/or Dr.
Dhiren Paten, DO, and to issue a protective order.
A. Introduction

L. Plaintiff is Melvin Evans. Defendant is Home Depot, U.S.A., Inc. |

2. Plaintiff brought suit against Defendant for personal injury based upon his claim
of negligence.
3. Discovery in this suit is governed by a Level III discovery control plan.
B. Facts

4, Plaintiff was served on July 28, 2010 with Defendant's Notice of Deposition by
Written Questions and Subpoena Duces Tecum directed to Solace Counseling Associates and/or
Dr. Dhiren Paten, DO. See Exhibit A, attached hereto.

5. Plaintiff asks the Court to sign a protective order restricting access to and
dissemination of the medical and billing records of Solace Counseling Associates and/or Dr.

Dhiren Paten, DO as they pertain to the irrelevant medical history of Plaintiff.

PLAINTIFFS’ MOTION TO QUASH, FOR PROTECTION FROM DISCOVERY,

AND OBJECTIONS TO. DEPOSITIONS BY WRITTEN QUESTIONS PAGE 1
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C. Argument & Authorities

6. This deposition by written questions is not reasonably limited in time or scope to
the events or issues related to this litigation.

7. This deposition by written questions seeks information that violates the physician-
patient privilege (Tex. R. Evid. 509; Tex. R. Civ. P. 193.3). Only medical conditions and/or
medical records that relate “in a significant way to a party’s claim or defense” are discoverable.
R.K. v. Ramirez, 887 8.W.2d 836 (Tex. 1994); Groves v. Gabriel, 874 S.W.2d 660 (Tex. 1994);
Mutter v. Wood, 744 S.W.2d 600 (Tex. 1988).

8. Defendant is not entitled to forage through Plaintiff Melvin Evans' medical
records simply because he has made a claim for physical injury. Litigants do not have a license
to engage in “fishing expeditions” into privileged matters. In Re Jane Doe, 22 S.W.3d 601 (Tex.
App. ~ Austin 2000) (relying on Coates v. Whittington, 758 S.W.2d 749 (Tex. 1988) and
Ginsberg v. Fifth Court of Appeals, 686 S.W.2d 105 (Tex. 1985)).

9. The only medical condition of Plaintiff Melvin Evans that has any legal
significance to either party’s claim(s) or defense(s), are the injuries described in Plaintiff's
Original Petition. Any other medical conditions, if any, contained in his medical records are
privileged under Texas Rules of Evidence 509. Under R.K. and Jn Re Doe and in accordance
with the live pleadings in this case, neither tangential, irrelevant nor unrelated medical conditions
would be properly submitted to a jury to determine Defendant's negligence, negligence per se, or
the conclusory allegation of contributory negligence asserted by Defendant's attorneys (although
not directly asserted by Defendant itself).

10. _ A trial court has discretion to protect a party with a protective order. Tex. R. Civ.
P. 192.6; Axelson, Inc. v. McIlhany, 798 S.W.2d 550, 553 (Tex. 1990). The court has the
authority to limit the scope of discovery based on the needs and circumstances of the case. Tex.

R. Civ. P. 192, cmt. 7.

PLAINTIFFS” MOTION TO QUASH, FOR PROTECTION FROM DISCOVERY,

AND OBJECTIONS TO DEPOSITIONS BY WRITTEN QUESTIONS PAGE 2
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11. Plaintiff asks the Court for a protective order because Defendant's discovery
request is over broad. Tex. R. Civ. P. 192, cmt. 1. A discovery request must be reasonably
tailored to include only relevant matters. In re American Optical Corp., 988 S.W.2d 711, 713
(Tex. 1998). The Supreme Court has identified as overbroad requests encompassing time
periods, products, or activities. See In Regarding: CSX Corp., 124 8.W.3d 149, 153 (Tex. 2003)
(request to identify all safety employees of defendant over 30-year period was over broad);
American Optical, 988 S.W.2d at 713 (request for production of almost every document relating
to asbestos that defendant had ever produced for 50 years was over broad); K-Mart Corp. v.
Sanderson, 937 S.W.2d 429, 431 (Tex. 1996) (request for information about criminal conduct at
location for seven years was over broad); Dillard Dep’t Stores, Inc. v. Hall, 909 S.W.2d 491, 492
(Tex. 1995) (request for every similar claim from every store was over broad). The requests in
this case are over broad as to the time period and relevancy to the matter at hand. Plaintiff objects
to the depositions by written questions because all depositions call for the healthcare providers to
produce for inspection and photocopying “Any and all medical records....”.

12. Plaintiff Melvin Evans has not waived his federally protected privacy rights under
HIPPA relating to his medical records. Plaintiff has not provided Defendant with a general
medical release to permit Defendant to forage through Plaintiffs medical records.

D. Prayer

14. For these reasons, Plaintiff asks the Court to quash Defendant's deposition notice
and issue an order protecting Plaintiff from Defendant's improper ‘deposition upon written
questions’ seeking “Any and all” of Plaintiff's medical and billing records from Solace

Counseling Associates and/or Dr. Dhiren Patel, DO.

PLAINTIFFS’ MOTION TO QUASH, FOR PROTECTION FROM DISCOVERY,

AND OBJECTIONS TO DEPOSITIONS BY WRITTEN QUESTIONS PAGE 3
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Respectfully submitted,
SOMMERMAN & QUESADA, L.LP.

 

AMearew B. Sommerman

State Bar No. 18842150

3811 Turtle Creek Boulevard, Suite 1400
Dallas, Texas 75219

214/720-0720 (Telephone)

214/720-0184 (Facsimile)

ATTORNEYS FOR PLAINTIFF

CERTIFICATE OF CONFERENCE
A conference has been held on the merits of this Motion.

I have been unsuccessful in my attempts to contact the attorney for the Defendant.

x

I have been unsuccessful in my attempts to discuss this matter with the
Defendant's attorney as said attorney has not returned my telephone calls or
responded to my letter.

This matter has been discussed with opposing counsel and no agreement on the
Motion could be reached.

Defendant's attorney has agreed or is unopposed to Movant's request under this

Motion. LZ

 

PLAINTIFFS’ MOTION TO QUASH, FOR PROTECTION FROM DISCOVERY,

AND OBJECTIONS TO DEPOSITIONS BY WRITTEN QUESTIONS PAGE 4
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Case 3:10-cv-02059-@® Document 1-1 Filed 10/13/10 @: 52 of 81 PagelD 132

CERTIFICATE OF SERVICE
Thereby certify by my signature above that a true and correct copy of the foregoing
instrument has this date been sent to all attorneys of record in the above-styled and numbered
matter, said service being effected in the following manner:
Certified Mail/Return Receipt Requested
Hand Delivery

Telecopy , Y __

Regular Mail

DATED: 4 i,

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PLAINTIFFS’ MOTION TO QUASH, FOR PROTECTION FROM DISCOVERY,

AND OBJECTIONS TO DEPOSITIONS BY WRITTEN QUESTIONS PAGE 5
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3811 TURTLE CREEK BOULEVARD, SUITE 1400 = E f . GEORGE (TEX) NS tt

DALLAS, TEXAS 75219 i i. oC HEATHER L tt

TELEPHONE 214-720-0720 J STEVENS. SCHULTE

TOLL FREE 800-900-5373 . . Sng hn . wea
TELECOPIER 214-720-0184 aang AUC ~h AL ELLISt

personalinjury @textrial.com py a 4s Of Counsel

www.textrial.com

hy MARY ALICE McLARTY ttt

“s cA RREN . Of Counsel!

me SBba f Ppt in Personal Injury Trial Law

A aS ep Ny fag ard Certified in Civil Trial Law
*:& derffied Civil Trial Advocate:

National Board of Trial Advocacy

t College of the State Bar of Texas

tt Licensed in Texas and New Mexico

ttt Licensed in Texas and District of Columbia

August 3,2010 | ae

Via Hand Delivery
Clerk

County Court at Law No. 1

George L. Allen, Sr. Courts Building
600 Commerce Street, 5th Floor
Dallas, Texas 75202-4606

Re: Cause No. CC-10-01305-A; Melvin Evans v. Home Depot, USA, Inc.
Dear Clerk:

Enclosed for filing among the papers of this Court are an original and one copy of Plaintiff's
Motion to Quash, for Protection from Discovery, and Objections to Depositions by Written
Questions and proposed Order. Please file this document and return a file-marked copy of the
Motion to us via the awaiting courier.

‘By copy of this letter, all counsel are being served with a copy of this pleading.

Thank you for your assistance in this matter.

Sincerely,

 
 
   

ndrew B. Sommerman

ABS:dr

Encl

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ce:

VIA FAX 512/370-2850 ViA FAX 512/476-7202

Peyton N. Smith Waterloo Litigation Support, Inc.
Winstead PC 1505 W. 44th Street

401 Congress Ave., Suite 2100 Austin, TX 78756

Austin, TX 78701

 

 

 

 
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CAUSE NO. CC-10-01305-A

 
 
 

IN THE COUNTY C

MELVIN EVANS, §
Plaintiff, Q

vs. ATLAWNO.1

HOME DEPOT, US.A., INC. SCARE,
Defendant. |

 

DALLAS COUNTY, TEXAS

PLAINTIFF’S NOTICE OF FILING RULE 11 AGREEMENT
COMES NOW Plaintiff and files with the Court this his NOTICE OF FILING RULE 11

AGREEMENT (Exhibit A) attached hereto.

Respectfully submitted,

SOMMERMAN & QUESADA, L.L.P.

Jere

Andrew B. Sommerman

State Bar No. 18842150

3811 Turtle Creek Boulevard, Suite 1400
Dallas, Texas 75219-4461

Telephone: (214) 720-0720
Facsimile: (214) 720-0184

E-mail: andrew@textrial.com

ATTORNEYS FOR PLAINTIFF

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NOTICE OF FILING RULE 11 AGREEMENT Page 1
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“,

CERTIFICATE OF SERVICE
I hereby certify by my signature above that a true and correct copy of the foregoing
instrument has this date been sent to all attorneys of record in the above-styled and numbered cause, |
said service being effected in the following manner on the 8th day of September, 2010.
Certified Mail/Return Receipt Requested
Hand Delivery
Telecopy

Regular Mail

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DALLAS, TEXAS 75219 fi HEATHER LONG T{N ~
TELEPHONE 214-720-0720 «

*AL ELLISt**4
Of Counsel

TOLL FREE 800-900-5373
TELECOPIER 214-720-0184
ersonalinjury @ textrial.com

 

www. fextrial.com
MARY ALICE McLARTY ttt
Of Counsel

  
 

aa
September 8, 2010-4

*Board Certified in Personal injury Trial Law
“Board Certified in Civil Trial Law

4 Certified Civil Trial Advocate:
National Board of Trial Advocacy
+ College of the State Bar of Texas
tt Licensed in Texas and New Mexico
ttt Licensed in Texas and District of Columbia

Clerk

County Court at Law No. 1

George L. Allen, Sr. Courts Building
600 Commerce Street, 5th Floor
Dallas, Texas 75202-4606

Re: Cause No. CC-10-01305-A; Melvin Evans v. Home Depot, USA, Inc.
Dear Clerk:

Enclosed for filing among the papers of this Court are an original and one copy of Plaintiff's
Notice of Filing Rule 11 Agreement. Please file this document and return a file-marked copy of the
Motion to us in the enclosed self addressed envelope.

By copy of this letter, all counsel are being served with a copy of this pleading.

Thank you for your assistance in this matter.

Sitiberely,

  

//Dearina Inman
Legal Assistant

ce:
VIA FAX 512/370-2850

Trek C. Doyle

Winstead PC

401 Congress Ave., Suite 2100
Austin, TX 78701

 

 

 
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September g, 2010

Vis Fax: 512/370-2859

 

   

Cause No. CC-1 0-0}305-A, Melvin Evans v- Home Depot, U.S.A., Inc.

Dear Mr. Doyle:

allow this letter 10 Serve as our Rule 11 Agreement wherein Plaintiff and Defendant
have yo extend the deadline to designate experts and provide reports from retained experts.
The new expert designation schedule is as follows:

11/05/2010 Plainnffs Experts shall be designated and reports and CVs from revained
experts tendered not later than this datc.

14/06/2010 Defendant's Experts shall be designated and reports and CVs from retquned
, experts tendered not later than this date.

[fthis accurately reflects your understanding, please sign below god fax it back to my office.

With kind regards,

    

 

 

EXHIBIT

 

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Case 3:10-cv-02059- Document 1-1 Filed 10/13/10 @:: 60 of 81 PagelD 140

JOHN F. WARREN

Dallas County Clerk

George Allen Sr. Court Bldg.
600 Commerce St, Ste 101
Dallas, Texas 75202-3551

 

STATE OF TEXAS §

COUNTY OF DALLAS §

I, John F. Warren, Clerk of the County Court of Dallas County Court at Law No. 1,
Dallas County, Texas do hereby certify that the foregoing is a true and correct copy of
document in Cause No. CC-10-01305-A.

MELVIN EVANS, PLAINTIFF (S)
VS
HOME DEPOT, U.S.A, INC, DEFENDANT (S)

PLAINTIFF’S FIRST AMENDED PETITION, REQUEST FOR DISCLOSURE,
AND JURY DEMAND, FILED: SEPTEMBER 14, 2010

Minutes of County Court at Law No. 1, Dallas County, Texas.

WITNESS MY HAND AND SEAL of said Court this 5th day of October, 2010.

John F. Warren, County Clerk

ALVIN BECK, Deputy

 

 
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CAUSE NO. CC-10-01305-A

 
 

  

 

- MELVIN EVANS, § IN THE county esther 4 PR 337
Plaintiff, a
vs. AT LAW NO. 1
HOME DEPOT, U.S.A., INC.
Defendant. DALLAS COUNTY, TEXAS

PLAINTIFF’S FIRST AMENDED PETITION, REQUEST FOR DISCLOSURE,
AND JURY DEMAND

TO THE HONORABLE JUDGE OF SAID COURT:

 

for Disclosure, and Jury Demand complaining of Defendant Home Depot, U.S.A., Inc., and would
respectfully show unto the Court as follows:
1.00 DISCOVERY CONTROL PLAN

Pursuant to Rule 190 et seg of the Texas Rules of Civil Procedure, Plaintiff requests a Level
Ul discovery control plan.
2.00 REQUEST FOR DISCLOSURE

Pursuant to Rule 194 of the Texas Rules of Civil Procedure, Plaintiff requests Defendant to
disclose, within fifty (50) days of service of this request, the information and material described in
Rule 194.2 of the Texas Rules of Civil Procedure. Plaintiff specifically requests Defendant to
produce responsive documents at the undersigned law offices within fifty (50) days of service of this
request.
3.00 PARTIES

——3.01-—Plaintiff Melvin Evans is-a resident of DeSoto, Dallas County, Texas,"The lasts... ss =

PLAINTIFE’S FIRST AMENDED PETITION, REQUEST FOR DISCLOSURE, AND JURY DEMAND PAGE 1

 

 
Case 3:10-cv-02059@ Document 1-1 Filed 10/13/10 @v: 62 of 81 PagelD 142

three digits of Melvin Evans’ driver’s license number are 433, and the last three digits of his
social security number are 121.

3.02 Defendant Home Depot, U.S.A., Inc. is a foreign for-profit corporation, licensed to
do business in the State of Texas. Defendant Home Depot, U.S.A., Inc, has been served and has
filed an answer.

4.00 VENUE AND JURISDICTION
4.01 This Court has venue and jurisdiction over the parties to this action since the matter
~ in controversy exceeds the sum or value of the minimum jurisdictional limits of the Court, exclusive
of costs and interest, and because such negligence complained of herein occurred in Dallas County,
Texas.
5.00 FACTS

5.01 On or about May 22, 2008, at approximately 9:00 a.m., Plaintiff Melvin Evans, was
working as an employee of Defendant Home Depot, U.S.A., Inc., at the Home Depot Store #8976,
under the direct supervision of Mark Bedford and Steve Thompson.

5.02 Defendant Home Depot, U.S.A., Inc., entered into a valid and enforceable written
contract with Melvin Evans when the company hired him as an employee. For his performance as
an employee, Evans was to receive compensation for medical bills incurred as a result of any work-
related injuries and compensation for any work that he would miss as a result of sustaining such
injuries.

5.03 Plaintiff was instructed by Home Depot supervisor Mark Bedford and Steve Thompson
to quickly move freight (i.e., patio furniture) from the back of the store to the front of the store in the

outdoor or garden section of the store. He was moving this freight with a manual pallet jack as

PLAINTIFF’S FIRST AMENDED PETITION, REQUEST FOR DISCLOSURE, AND JURY DEMAND PAGE 2

    
 
  
 
 

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Case 3:10-cv-02059@ Document 1-1 Filed 10/13/10 @« 63 of 81 PagelD 143

instructed by these Home Depot supervisors.

5.04 As Plaintiff pulled the manual pallet jack through the aisles of the garden or outdoor.
section of the store, a cone-shaped metal sprayer, approximately 3/4" to 1" in diameter, and
approximately 6" in length, which was connected to a water spigot approximately 3 feet from the
ground, which was attached to a beam in the outdoor or garden section of the store, struck Plaintiff
The metal sprayer protruded into the aisle, at this height level, and was not visible to Plaintiff before
it struck him.

5.05 The metal sprayer struck Plaintiff right below his waist on the right side, directly
below his hip, causing Plaintiff to fall to the ground, resulting in the manual pallet jack striking
Plaintiff in the back and left side of his body, causing serious and ongoing injuries to Plaintiff.

5.06 Onapproximately April 22, 2009, a Home Depot supervisor or supervisors, aware
of Plaintiff's May 2008 incident inside Home Depot and resulting physical injuries and limitations,
instructed Plaintiff to move and/or arrange lawn mowers outside of the store. Plaintiff suffered
additional injuries in complying with the Home Depot supervisor's or supervisors' instructions.

5.07 Defendant Home Depot, U.S.A., Inc., breached its written contract with Melvin Evans
because it has failed to fully compensate Melvin Evans for his medical bills and time missed from
work as a result of his work-related injuries sustained on or about May 22, 2008, and April 22, 2009.
These breaches of contract were unwarranted, unjustified, and without cause.

6.00 CAUSES OF ACTION AGAINST DEFENDANT HOME DEPOT, U.S.A., INC.
NEGLIGENCE
6.01 Plaintiff would also show that said Defendant breached a duty of care to Plaintiff by

failing to select, hire, supervise, train or retain competent employees to maintain a safe work place

PLAINTIFF’S FIRST AMENDED PETITION, REQUEST FOR DISCLOSURE, AND JURY DEMAND PAGE 3

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Case 3:10-cv-02059 Document 1-1 Filed 10/13/10 @-: 64 of 81 PagelD 144

and to ensure the safety of employees like Plaintiff. The negligent acts and omissions of said
Defendant were a direct and proximate cause of the incident in question and the resulting injuries
and damages sustained by the Plaintiff. The violations, negligent acts, and omissions are, among

others, as follows:

a. Defendant instructed Plaintiff to move quickly through the store without regard to
Plaintiff's safety;
b. Defendant failed to warn or instruct Plaintiff of the potential hazards of moving

quickly through the store;

C. Defendant failed to properly inspect and/or maintain the store against potential
hazards to its employees; ,

d. Defendant failed to properly and safely supervise the moving of the pallets or freight.

e. Defendant failed to adequately train, educate, and instruct its employees and/or staff
to maintain a safe workplace and to protect the health and safety of its employees;

f. Defendant retained its employees and/or staff knowing that they were performing
their duties and obligations in an unsafe manner;

g. Defendant failed to inspect and/or maintain the premises in a safe condition; and
h. Defendant created a dangerous condition and failed to warn Plaintiff of the dangerous
condition.

6.02 Onthe occasion in question, Mark Bedford and Steve Thompson, as well as any other
supervisor of Plaintiff, were acting as supervisors employed by Home Depot, U.S.A., Inc., to
supervise Plaintiff and his coworkers, in the furtherance of the business of Home Depot, U.S.A., Inc.;
therefore, Plaintiff asserts causes of action against Home Depot, U.S.A., Inc., based on the theory
of Respondeat Superior.

BREACH OF CONTRACT

6.03 Defendant Home Depot, U.S.A., Inc., entered into a valid and enforceable written

PLAINTIFF’S FIRST AMENDED PETITION, REQUEST FOR DISCLOSURE, AND JURY DEMAND PAGE 4

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contract when it contracted with Plaintiff Melvin Evans. In exchange for Evan’s performance as an
employee, Evans was to receive compensation from Defendant for medical bills incurred as a result
of any work-related injuries and compensation for any work that he would miss as a result of
sustaining such injuries.

6.04 Plaintiff Melvin Evans performed by, among other things, working his assigned shifts
at the Home Depot store where he was assigned to work.

6.05 Defendant Home Depot, US.A., Inc., breached its contract with Plaintiff Melvin
Evans by failing to meet its obligations described above when Melvin Evans sustained work-related
injuries on or about May 22, 2008, and April 22, 2009after Melvin Evans had performed his end of
the contract. |
7.00 DAMAGES

7.01 As a direct and proximate result of the negligence described above, Plaintiff has
suffered the following damages:

7.02 As aresult of the incident described herein, Plaintiff has incurred medical expenses
and in all reasonable probability such medical expenses will continue in the future.

7.03 Plaintiffhas suffered lost wages and/or lost earning capacity in the past as a result of
this incident and in reasonable probability such lost earning capacity will continue in the future.

7.04 Plaintiff has experienced physical pain and suffering in the past as a result of this
incident and in all reasonable probability will sustain physical pain and suffering in the future as a
result of his physical injuries.

7.05 Plaintiff has experienced mental anguish in the past as a result of this incident and
in all reasonable probability will sustain mental anguish in the future as a result of this incident.

PLAINTIFF’S FIRST AMENDED PETITION, REQUEST FOR DISCLOSURE, AND JURY DEMAND PAGE 5

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7’ COUNTY CLERK'S OFFICE

 

 

 
Case 3:10-cv-02059 Document 1-1 Filed 10/13/10 @:: 66 of 81 PagelD 146

7.06 Plaintiff has experienced physical impairment or physical incapacity in the past as a
result of this incident and in reasonable probability will sustain physical impairment or physical
incapacity in the future.

7.07 Plaintiff has experienced physical disfigurement in the past and in all reasonable
probability will suffer physical disfigurement in the future as a result of the incident in question.

7.08 As a result of the above, Plaintiff seek damages in excess of the minimum
jurisdictional limits of this Court.

8.00 EXEMPLARY DAMAGES

For additional causes of action, Plaintiff re-pleads as fully as though set forth in this
paragraph all allegations under paragraphs 1.00 through 7.00 and alleges that all the acts and
omissions on the part of the Defendant, taken singularly or in combination, constitute gross
negligence and were the proximate cause of the damages and injuries of Plaintiff as alleged herein.
This gross negligence entitles the Plaintiffto exemplary damages. Specifically, Plaintiff alleges that
the Defendant's acts were more than momentary thoughtlessness, inadvertence, or error ofjudgment.
The Defendant acted with such an entire want of care to establish that the acts and/or omissions were
the result of actual conscious indifference to the rights, safety or welfare of the Plaintiff. Plaintiff
seeks exemplary damages against the Defendant in the amount of four times Plaintiff's actual
damages or to punish Defendant for its wrongdoing and to deter other companies that might be
tempted to engage in the same or similar conduct.

9.00 CLAIM FOR PRE-JUDGMENT AND POST-JUDGMENT INTEREST

Plaintiff claims all lawful pre-judgment and post-judgment interest on the damages suffered

by him.

PLAINTIFF’S FIRST AMENDED PETITION, REQUEST FOR DISCLOSURE, AND JURY DEMAND PAGE 6

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Case 3:10-cv-02059 > Document 1-1 Filed 10/13/10 @< 67 of 81 PagelD 147

10.00 JURY DEMAND
Plaintiff requests that a jury be convened to try the factual issues in this cause.
WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that Defendant be cited to
appear and answer herein and, upon final hearing of this cause, Plaintiff have judgment against
Defendant for damages described herein, for costs of suit, interest from the date of the incident and

for such other and further relief to which Plaintiff may be justly entitled.

Respectfully submitted,

SOMMERMAN & QUESADA, L.L.P.

Zr

Andrew B. Sommerman

State Bar No. 18842150

3811 Turtle Creek Boulevard, Suite 1400
Dallas, Texas 75219

214/720-0720 (Telephone)
214/720-0184 (Facsimile)

 

ATTORNEYS FOR PLAINTIFFS

   
 

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PLAINTIFF’S FIRST AMENDED PETITION, REQUEST FOR DISCLOSURE, AND JURY DEMAND PAGE 7

 

 
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CERTIFICATE OF SERVICE
I hereby certify by my signature above that a true and correct copy of the foregoing
instrument has been sent to all attorneys of record in the above-styled and numbered matter, said
service being effected in the following manner this \U™ day of September, 2010:
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Telecopy | vag

Regular Mail

E-Mail

 

PLAINTIFF’S FIRST AMENDED PETITION, REQUEST FOR DISCLOSURE, AND JURY DEMAND PAGE 8

 

 
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DALLAS, TEXAS 75219 . x HEATHER ONG TIN
TELEPHONE 214-720-0720 : i : : #5 ,
TOLL FREE 800-900-5373 “ee so eS +4
TELECOPIER 214-720-0184 ; Of Counsel

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WE “ MARV UALIOE MCLBETEY Fit

OF Counsel

 
  
  

jc in Persorial Injury, Frial Law

oar Certified in Civij Trial Law
ied EivikTrial Advotate:

Lac Nati@hal Board of Tal aavocacy

+ College of the Stale’Bar of Texas

tt Licensed in Texas and New Mexico

ttt Licensed in Texas and District of Columbia

September 14, 2010

Clerk

County Court at Law No. 1

George L. Allen, Sr. Courts Building
600 Commerce Street, 5th Floor
Dallas, Texas 75202-4606

Re: Cause No. CC-10-01305-A; Melvin Evans v. Home Depot, USA, Inc.

Dear Clerk:

Enclosed for filing among the papers of this Court are an original and one copy of Plaintiff's
First Amended Petition, Request for Disclosure and Jury Demand. Please file this document and
return a file-marked copy to the courier.

By copy of this letter, all counsel are being served with a copy of this pleading.
Thank you for your assistance in this matter.

SjAderely,

Deanna Inman
Legal Assistant

cc:
ViA FAX 512/370-2850

Trek C. Doyle

Winstead PC

401 Congress Ave., Suite 2100
Austin, TX 78701

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JOHN F. WARREN

Dallas County Clerk

George Allen Sr. Court Bldg.
600 Commerce St, Ste 101
Dallas, Texas 75202-3551

 

STATE OF TEXAS §

COUNTY OF DALLAS §

I, John F. Warren, Clerk of the County Court of Dallas County Court at Law No. 1,
Dallas County, Texas do hereby certify that the foregoing is a true and correct copy of
document in Cause No. CC-10-01305-A.

MELVIN EVANS, PLAINTIFF (S)
VS
HOME DEPOT, U.S.A, INC, DEFENDANT (S)

PLAINTIFF’S FIRST SUPPLEMENTAL PETITION, REQUEST FOR
DISCLOSURE, AND JURY DEMAND, FILED: SEPTEMBER 17, 2010

Minutes of County Court at Law No. 1, Dallas County, Texas.

WITNESS MY HAND AND SEAL of said Court this 5th day of October, 2010.

John F. Warren, County Clerk

ALVIN BECK, Deputy

 

 
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Y? CAUSE NO. CC-10-01305-A Pui ED
MELVIN EVANS, § IN THE CQARepPqQURE 3: 34
§
Plaintiff, § JOHN WARREN
§ COUNTY CLERK, 4g
vs. § ATLAWNODALLAS COURTY
$ (all A
HOME DEPOT, U.S.A., INC. § 45
| §
Defendant. § DALLAS COUNTY, TEXAS

PLAINTIFF’S FIRST SUPPLEMENTAL PETITION, REQUEST FOR DISCLOSURE,
AND JURY DEMAND
SCANNED

To THE HONORABLE JUDGE OF SAID COURT:

COME NOW, Plaintiff Melvin Evans, and files Plaintiffs First Supplemental Petition,
Request for Disclosure, and Jury Demand complaining of Defendant Home Depot, U.S.A., Inc., and
would respectfully show unto the Court as follows:

1.00 DISCOVERY CONTROL PLAN _

Pursuant to Rule 190 et seg of the Texas Rules of Civil Procedure, Plaintiff requests a Level
II discovery control plan. .

2.00 REQUEST FOR DISCLOSURE

Pursuant to Rule 194 of the Texas Rules of Civil Procedure, Plaintiff requests Defendant to
disclose, within fifty (50) days of service of this request, the information and material described in
Rule 194.2 of the Texas Rules of Civil Procedure. Plaintiff specifically requests Defendant to
produce responsive documents at the undersigned law offices within fifty (50) days of service of this

request.

PLAINTIFF’S FIRST SUPPLEMENTAL PETITION, REQUEST FOR DISCLOSURE, AND JURY DEMAND . PAGE 1

    
  

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3.00 PARTIES

3.01 Plaintiff Melvin Evans is a resident of DeSoto, Dallas County, Texas. The last
three digits of Melvin Evans’ driver’s license number are 433, and the last three digits of his
social security number are 121.

3.02 Defendant Home Depot, U.S.A., Inc. is a foreign for-profit corporation, licensed to
do business in the State of Texas. Defendant Home Depot, U.S.A., Inc, has been served and has
filed an answer.

4.00 VENUE AND JURISDICTION

4.01 This Court has venue and jurisdiction over the parties to this action since the matter
in controversy exceeds the sum or value of the minimum jurisdictional limits of the Court, exclusive
of costs and interest, and because such negligence complained of herein occurred in Dallas County,
Texas
5.00 FACTS

5.01 Onor about May 22, 2008, at approximately 9:00 a.m., Plaintiff Melvin Evans, was
working as an employee of Defendant Home Depot, U.S.A., Inc., at the Home Depot Store #8976,
under the direct supervision of Mark Bedford and Steve Thompson.

5.02 Defendant Home Depot, U.S.A., Inc., entered into a valid and enforceable written
contract with Melvin Evans when the company hired him as an employee. For his performance as
an employee, Evans was to receive compensation for medical bills incurred as a result of any work-
related injuries and compensation for any work that he would miss as a result of sustaining such
injuries.

5.03 Plaintiff was instructed by Home Depot supervisor Mark Bedford and Steve Thompson

PLAINTIFF’S FIRST SUPPLEMENTAL PETITION, REQUEST FOR DISCLOSURE, AND JURY DEMAND PAGE 2

    
  
 

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to quickly move freight (i.e., patio furniture) from the back of the store to the front of the store in the
outdoor or garden section of the store. He was moving this freight with a manual pallet jack as
instructed by these Home Depot supervisors.

5.04 As Plaintiff pulled the manual pallet jack through the aisles of the garden or outdoor
section of the store, a cone-shaped metal sprayer, approximately 3/4" to 1" in diameter, and
approximately 6" in length, which was connected to a water spigot approximately 3 feet from the
ground, which was attached to a beam in the outdoor or garden section of the store, struck Plaintiff.
The metal sprayer protruded into the aisle, at this height level, and was not visible to Plaintiff before
it struck him.

5.05 The metal sprayer struck Plaintiff right below his waist on the right side, directly
below his hip, causing Plaintiff to fall to the ground, resulting in the manual pallet jack striking
Plaintiff in the back and left side of his body, causing serious and ongoing injuries to Plaintiff.

5.06 On approximately April 22, 2009, a Home Depot supervisor or supervisors, aware
of Plaintiff's May 2008 incident inside Home Depot and resulting physical injuries and limitations,
instructed Plaintiff to move and/or arrange lawn mowers outside of the store. Plaintiff suffered
additional injuries in complying with the Home Depot supervisor's or supervisors’ instructions. |

5.07 Defendant Home Depot, U.S.A., Inc., breached its written contract with Melvin Evans
because it has failed to fully compensate Melvin Evans for his medical bills and time missed from
work as a result of his work-related injuries sustained on or about May 22, 2008, and April 22, 2009.

These breaches of contract were unwarranted, unjustified, and without cause.

PLAINTIFF’S FIRST SUPPLEMENTAL PETITION, REQUEST FOR DISCLOSURE, AND JURY DEMAND PAGE 3

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6.00 CAUSES OF ACTION AGAINST DEFENDANT HOME DEPOT, U.S.A., INC.
NEGLIGENCE
6.01 Plaintiff would also show that said Defendant breached a duty of care to Plaintiff by
failing to select, hire, supervise, train or retain competent employees to maintain a safe work place
and to ensure the safety of employees like Plaintiff. The negligent acts and omissions of said
Defendant were a direct and proximate cause of the incident in question and the resulting injuries
and damages sustained by the Plaintiff. The violations, negligent acts, and omissions are, among

others, as follows:

a. Defendant instructed Plaintiff to move quickly through the store without regard to
Plaintiff's safety;
b. Defendant failed to warn or instruct Plaintiff of the potential hazards of moving

quickly through the store;

c. Defendant failed to properly inspect and/or maintain the store against potential
hazards to its employees; ;

d. Defendant failed to properly and safely supervise the moving of the pallets or freight.

e. Defendant failed to adequately train, educate, and instruct its employees and/or staff
to maintain a safe workplace and to protect the health and safety of its employees;

f. Defendant retained its employees and/or staff knowing that they were performing
their duties and obligations in an unsafe manner;

g. Defendant failed to inspect and/or maintain the premises in a safe condition; and
h. Defendant created a dangerous condition and failed to warn Plaintiff of the dangerous
condition.

6.02 Onthe occasion in question, Mark Bedford and Steve Thompson, as well as any other
supervisor of Plaintiff, were acting as supervisors employed by Home Depot, U.S.A., Inc., to

supervise Plaintiff and his coworkers, in the furtherance of the business of Home Depot, U.S.A., Inc.;

PLAINTIFF’S FIRST SUPPLEMENTAL PETITION, REQUEST FOR DISCLOSURE, AND JURY DEMAND PAGE 4

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therefore, Plaintiff asserts causes of action against Home Depot, U.S.A., Inc., based on the theory
of Respondeat Superior.
BREACH OF CONTRACT

6.03 Defendant Home Depot, U.S.A., Inc., entered into a valid and enforceable written
contract when it contracted with Plaintiff Melvin Evans. In exchange for Evan’s performance as an
employee, Evans was to receive compensation from Defendant for medical bills incurred as a result
of any work-related injuries and compensation for any work that he would miss as a result of
sustaining such injuries.

6.04 Plaintiff Melvin Evans performed by, among other things, working his assigned shifts
at the Home Depot store where he was assigned to work.

6.05 Defendant Home Depot, U.S.A., Inc., breached its contract with Plaintiff Melvin
Evans by failing to meet its obligations described above when Melvin Evans sustained work-related
injuries on or about May 22, 2008, and April 22, 2009after Melvin Evans had performed his end of
the contract.

6.06 The Defendant’s breach of contract was, singularly and severally, a proximate cause
of Plaintiff's injuries.
7.00 DAMAGES

7.01 Asa direct and proximate result of the negligence described above, Plaintiff has
suffered the following damages:

7.02 Asaresult of the incident described herein, Plaintiff has incurred medical expenses
and in all reasonable probability such medical expenses will continue in the future.

7.03 Plaintiff has suffered lost wages and/or lost earning capacity in the past as a result of

PLAINTIFF’S FIRST SUPPLEMENTAL PETITION, REQUEST FOR DISCLOSURE, AND JURY DEMAND PAGE 5

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this incident and in reasonable probability such lost earning capacity will continue in the future.

7.04 Plaintiff has experienced physical pain and suffering in the past as a result of this
incident and in all reasonable probability will sustain physical pain and suffering in the future as a
result of his physical injuries.

7.05 Plaintiff has experienced mental anguish in the past as a result of this incident and
in all reasonable probability will sustain mental anguish in the future as a result of this incident.

7.06 Plaintiff has experienced physical impairment or physical incapacity in the past as a
result of this incident and in reasonable probability will sustain physical impairment or physical
incapacity in the future.

7.07 Plaintiff has experienced physical disfigurement in the past and in all reasonable
probability will suffer physical disfigurement in the future as a result of the incident in question.

7.08  Asaresult of the above-mentioned actions and/or omissions by Defendant Home
Depot, U.S.A., Inc., Melvin Evans suffered monetary damages. These damages were natural,
probable, and a foreseeable consequence of the defendant’s breach of contract and other actions that
Melvin Evans detrimentally relied upon. Specifically, Melvin Evans suffered damages in the form
of lost salary and medical bills that he paid or incurred a debt from as a result of his work-related
injury.

7.09 As a result of the above, Plaintiff seek damages in excess of the minimum
jurisdictional limits of this Court.
8.00 EXEMPLARY DAMAGES

For additional causes of action, Plaintiff re-pleads as fully as though set forth in this

paragraph all allegations under paragraphs 1.00 through 7.00 and alleges that all the acts and

PLAINTIFF’S FIRST SUPPLEMENTAL PETITION, REQUEST FOR DISCLOSURE, AND JURY DEMAND ; PAGE 6

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omissions on the part of the Defendant, taken singularly or in combination, constitute gross
negligence and were the proximate cause of the damages and injuries of Plaintiff as alleged herein.
This gross negligence entitles the Plaintiff to exemplary damages. Specifically, Plaintiff alleges that
the Defendant's acts were more than momentary thoughtlessness, inadvertence, or error of] udgment.
The Defendant acted with such an entire want of care to establish that the acts and/or omissions were
the result of actual conscious indifference to the rights, safety or welfare of the Plaintiff. Plaintiff
seeks exemplary damages against the Defendant in the amount of four times Plaintiff's actual
damages or to punish Defendant for its wrongdoing and to deter other companies that might be
tempted to engage in the same or similar conduct.
9.00 ATTORNEYS’ FEES.

9.01  Plaintiffrequests that he be granted relief in the form of attorney fees from Defendant
Home Depot, U.S.A., Inc., pursuant to TEX. CIv. PRAC. & REM. CODE section 38.001(8).
10.00 CLAIM FOR PRE-JUDGMENT AND Post-J UDGMENT INTEREST

Plaintiff claims all lawful pre-judgment and post-judgment interest on the damages suffered
by him.
11.00 JURY DEMAND

Plaintiff requests that a jury be convened to try the factual issues in this cause.

WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that Defendant be cited to
appear and answer herein and, upon final hearing of this cause, Plaintiff have judgment against
Defendant for damages described herein, for costs of suit, interest from the date of the incident and

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PLAINTIFF’S FIRST SUPPLEMENTAL PETITION, REQUEST FOR DISCLOSURE, AND JURY DEMAND PAGE 7

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Respectfully submitted,

SOMMERMAN & QUESADA, L.L.P.

 

“Andrew B. Sommerman

State Bar No. 18842150

3811 Turtle Creek Boulevard, Suite 1400
Dallas, Texas 75219

214/720-0720 (Telephone)
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TELEPHONE 214-720-0720 |

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ttt Licensed in Texas and District of Columbia

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Clerk

County Court at Law No. 1

George L. Allen, Sr. Courts Building
600 Commerce Street, 5th Floor
Dallas, Texas 75202-4606

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Thank you for your assistance in this matter.

Sin¢éerely,

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eanna Inman
Legal Assistant

cc:
Via Fax 512/370-2850

Trek C. Doyle

Winstead PC

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Austin, TX 78701

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